          Case 2:16-cv-00373-SMJ          ECF No. 87        filed 08/02/18    PageID.2778 Page 1 of 1
                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 KATHY ALLSTOT,                                                     Case No.   2:16-CR-0373-SMJ
                                                                    CIVIL MINUTES
                                         Plaintiff,
         -vs-                                                       DATE:     AUGUST 2, 2018
                                                                    LOCATION: RICHLAND
 CONFLUENCE HEALTH, et al,
                                                                    MOTION HEARING
                                         Defendants.

                                         Hon. Salvador Mendoza, Jr.
          Debbie Brasel                                    02                                Lynette Walters
      Courtroom Deputy                                 Law Clerk                             Court Reporter
                   Corey Michael Kane                                           Jeffrey A. James
                   Plaintiff's Counsel                                          Defense Counsel

         [XX] Open Court                        [     ] Chambers                        [   ] Telecon

Court inquires of Mr. Kane as to the facts in this matter that he believes them to be and how they are supported
by the record
Response by Mr. Kane
Mr. Kane addresses Defendants’ MOTION for Summary Judgment [40]
Argument by Mr. James in support of Defendants’ MOTION for Summary Judgment [40]
Argument by Mr. Kane
Comment by Mr. James
Court:          Defendants’ MOTION for Summary Judgment [40] is under advisement




[XX] ORDER FORTHCOMING

 CONVENED: 8:48 A.M.            ADJOURNED: 9:46 A.M.               TIME:     0:58 HR.       CALENDARED         [ XX ]
